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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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 11    KIMBERLY A. M.,                              Case No. 5:19-CV-02114 PA (KES)
 12                       Plaintiff,
                                                  ORDER ACCEPTING REPORT AND
 13           v.                                    RECOMMENDATION OF U.S.
 14                                                    MAGISTRATE JUDGE
       ANDREW M. SAUL, Commissioner
       of Social Security,
 15
                          Defendant.
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 18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Joint Stipulation
 19    (Dkt. 20), the other records on file herein, and the Report and Recommendation of
 20    the United States Magistrate Judge (Dkt. 22). The Court has engaged in a de novo
 21    review of those portions of the Report and Recommendation to which objections
 22    (Dkt. 23) have been made. The Court accepts the report, findings, and
 23    recommendations of the Magistrate Judge.
 24          IT IS THEREFORE ORDERED that Judgment be entered affirming the
 25    decision of the Commissioner denying benefits.
 26    DATED: October 14, 2020
 27                                          ____________________________________
                                             PERCY ANDERSON
 28                                          UNITED STATES DISTRICT JUDGE
